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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION

 LAURIE BROWN; OLUWAKEMI FOSUDO; and
 ABIGAIL MUSICK, individually and on behalf of
 all others similarly situated,
                                                            Case No. 5:24-cv-05144
                          Plaintiffs,
          v.

 WALMART, INC.,

                          Defendant.

                 DECLARATION OF ELLIOT O. JACKSON IN SUPPORT OF
                        MOTION TO APPEAR PRO HAC VICE

         I, Elliot O. Jackson, declare as follows:

         1.      I am an attorney at Hedin LLP, 1395 Brickell Ave. Suite 610, Miami, Florida

33131.

         2.      I am a resident of Florida.

         3.      I am a member in good standing of the Florida Bar.

         4.      I am admitted to practice before all state courts of competent jurisdiction in the State

of Florida. I am admitted to practice before the Florida Supreme Court and the United States

District Court for the Middle and Southern Districts of Florida.

         5.      I have maintained my good standing in each of the courts in which I am admitted to

practice law. Attached is a certificate of good standing from the Florida Supreme Court reflecting my

good standing.

         6.      I have never been the subject of any disciplinary action or investigation by any

court or bar.

         7.      I submit to all disciplinary procedures applicable to Arkansas lawyers.
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       I declare under penalty of perjury that the above is true and correct.


Dated: July 19, 2024
                                             /s/ Elliot O. Jackson




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